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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                      )
                                                )
                 Plaintiffs,                    )
                                                )        Case No. 16-2105-JAR-JPO
v.                                              )
                                                )
SCOTT SCHWAB, in his official capacity          )
as Secretary of State for the State of          )
Kansas,                                         )
                                                )
                 Defendant.                     )
                                                )

     ORDER ON JOINT MOTION AND STIPULATION REGARDING PLAINTIFFS’
                MOTIONS FOR ATTORNEYS’ FEES AND COSTS

       This matter is before the Court on the parties’ Joint Motion and Stipulation regarding

Plaintiffs’ motion for attorneys’ fees, costs and expenses, Doc. No. 604. Having considered the

parties’ Joint Motion and Stipulation, the Court enters judgment in accordance with the Joint

Motion and Stipulation as follows:

       IT IS HEREBY ORDERED that the parties’ Joint Motion and Stipulation Regarding

Plaintiffs’ Motion for Attorneys’ Fees and Costs (Doc. 604) is GRANTED and Plaintiffs’

Motion for Attorneys’ Fees and Costs (Doc. No. 581) is GRANTED IN PART, as set forth in

the Joint Motion and Stipulation. Defendant shall pay attorneys’ fees and litigation expenses and

costs to the Plaintiffs in the total amount of $1,425,000.00, representing $1,075,000.00 in fees

and $350,000.00 in costs and expenses. Defendants shall pay this Award of costs, expenses and

fees within thirty (30) days of publication of legislation appropriating monies sufficient to pay

the full Settlement Sum.

       IT IS SO ORDERED.

       Dated: September 15, 2021
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                             S/ Julie A. Robinson
                            JULIE A. ROBINSON
                            CHIEF UNITED STATES DISTRICT JUDGE
